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UNITED STATES DISTRICT COURT                                                                 5/25/2021
SOUTHERN DISTRICT OF NEW YORK

 United States of America
                                                               Deferred Prosecution Agreement
                     v.
                                                                                   19 Cr. 830 (AT)
 Michael Thomas,

                                Defendant.


TO:      MICHAEL THOMAS

        On November 19, 2019, a grand jury sitting in this District returned a six-count indictment
(the “Indictment”), which charged Michael Thomas (“you”) with committing offenses against the
United States, to wit, conspiring to knowingly defraud the United States and to knowingly make
and use a false writing or document, in violation of 18 U.S.C. § 371, and three counts of knowingly
making and using a false writing or document, in violation of 18 U.S.C. § 1001. However, after a
thorough investigation, and based on the facts of this case and your personal circumstances, the
U.S. Attorney’s Office for the Southern District of New York (“USAO-SDNY”) has determined
that the interests of justice will best be served by deferring prosecution in this District. Upon your
acceptance of responsibility for your behavior and by your signature on this deferred prosecution
agreement (the “Agreement”), prosecution will be deferred during the term of your behavior and
satisfactory compliance with the terms of this Agreement for the period of six months from the
date of this Agreement.

        The terms and conditions constituting your good behavior and satisfactory compliance are
as follows:

   (1)     You shall refrain from violating any federal, state, or local law. You shall immediately
           contact your U.S. Pretrial Services Officer if arrested or questioned by a law-
           enforcement officer.

   (2)     You shall associate only with law-abiding persons.

   (3)     You shall work regularly at a lawful occupation, regularly attend school, and/or support
           or care for your legal dependents, if any, to the best of your ability, as approved by your
           U.S. Pretrial Services Officer. You shall notify your supervising U.S. Pretrial Services
           Officer prior to any work or school changes.

   (4)     You shall not leave the contiguous United States without permission of your
           supervising U.S. Pretrial Services Officer. In accordance with this condition, the U.S.
           Pretrial Services Office shall return your passport upon the Court’s entering this
           Agreement, and shall do so indefinitely unless this Agreement is violated.

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   (5)     You shall notify your supervising U.S. Pretrial Services Officer immediately of any
           change in your place of residence.

   (6)     You shall follow your supervising U.S. Pretrial Services Officer’s instructions and
           advice.

   (7)     You shall report to your supervising U.S. Pretrial Services Officer as directed.

        As a further condition you hereby consent to disclosure, by any federal, state, or local
government agency, or by any medical or substance abuse treatment provider, to the U.S. Pretrial
Services Officer supervising your case, of such medical and treatment records as may be requested
by the Pretrial Services Officer to evaluate deferral of prosecution in this case. You further agree
that you will execute any additional consent forms that any such agency or provider may require
to release such information.

Special conditions are as follows:

       You shall truthfully and completely disclose all information with respect to the activities
of yourself and others related to your employment by the Bureau of Prisons (“BOP”), which
information can be used for any purpose. You shall agree to meet with and be interviewed by the
USAO-SDNY, the Federal Bureau of Investigation, the Department of Justice, Office of the
Inspector General (“DOJ-OIG”), and any other law enforcement agency designated by this Office.

       You shall complete 100 documented hours of community service, preferably related to the
criminal justice system, including working with recently released inmates. The specific type of
community service to be performed must be approved by your Pretrial Services Officer.

        The USAO-SDNY may at any time revoke or modify any condition of this provisional
release or change the period of such supervision, which shall in no case exceed six months. The
USAO-SDNY may discharge you from supervision at any time. The USAO-SDNY may at any
time proceed with the prosecution for this offense should the USAO-SDNY, in its sole discretion,
deem such action advisable.

        If upon completion of your supervision a written report from your supervising U.S. Pretrial
Services Officer is received to the effect that you have complied with all the rules, regulations and
conditions and special conditions applicable to your deferred prosecution, no further prosecution
will be instituted in this District for the above offenses.

        Nothing in this Agreement shall be interpreted to preclude the BOP or the DOJ-OIG from
taking any administrative action against you, including suspension or termination of employment,
based on the facts alleged in the Indictment, the facts identified in the course of the investigation
that led to the Indictment, or your own statements to the DOJ-OIG or any other law enforcement
entity. Nothing in this Agreement shall be interpreted to require the BOP or the DOJ-OIG to delay


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any administrative action until after the expiration of the period of deferment contemplated by this
Agreement. You agree that a copy of this Agreement, including your admission and acceptance
of responsibility, shall be provided to the BOP.

                                         *       *       *

        If you successfully complete the term of supervision and fulfills all the terms and
conditions of this Agreement, the Government will move the Court to dismiss the Indictment as to
the defendant.

        It is further understood that this Agreement and the terms and conditions set forth herein
are limited to the facts and circumstances of this case and lack precedential value.

Dated: New York, New York
       May 20, 2021


                                                          AUDREY STRUASS
                                                          United States Attorney for the
                                                          Southern District of New York



                                                     By: __________________________
                                                         Nicolas Roos
                                                         Jessica Lonergan
                                                         Assistant United States Attorneys
                                                         Tel.: 212-637-2421 / 1038




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        The undersigned hereby consents to the foregoing. The undersigned hereby further admits
that he willfully and knowingly completed materially false count and round slips regarding
required counts and rounds in the Special Housing Unit of the Metropolitan Correctional Center
(“MCC”) on August 9, 2019 and August 10, 2019. The undersigned expressly waives any and all
rights to a speedy trial pursuant to the Sixth Amendment to the United States Constitution, the
Speedy Trial Act, §§ 3161 et seq., and any other pertinent provisions, and consents to the
adjournment of all pending proceedings in this case. The undersigned further waives the
applicable statute of limitations with respect to any prosecution that is not time-barred on the date
that this agreement is signed. It is the intent of this provision to toll the applicable statute of
limitations during the pendency of the deferred prosecution.

       The undersigned understands that pursuant to Title 18, United States Code, Section
3161(h)(2), this Agreement is subject to approval by the Court. Should the Court refuse to
approve, and thereby reject, this Agreement, neither party shall be bound to any term of this
Agreement, and no admissions in this Agreement may be used against the undersigned.

        Finally, the undersigned acknowledges that he has read this Agreement and has carefully
reviewed each provision with his attorney. The undersigned and his attorney acknowledge that no
threats, promises, or representations have been made, nor agreements reached, other than those set
forth in this Agreement. The undersigned further acknowledges that he understands and
voluntarily accepts each and every term and condition of this Agreement.


Dated: New York, New York
           20
       May ___, 2021




Montell Figgins
Montell Figgins (May 20, 2021 15:49 EDT)
____________________________                              Michael Thomas (May 20, 2021 16:04 EDT)
                                                          ____________________________
Montell Figgins, Esq.                                     Michael Thomas
Attorney for Defendant                                    Defendant




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